        Case: 23-1769   Document: 29   Filed: 10/25/2023   Page: 1




                    Brief of Amicus Curiae
           Association of Classical Christian Schools
       in Support of Plaintiff-Appellant and for Reversal

Deborah J. Dewart               Randall L. Wenger
111 Magnolia Lane               Jeremy L. Samek
Hubert, NC 28539                Janice Martino-Gottshall
(910) 326-4554                  Independence Law Center
                                23 N. Front St., First Fl
                                Harrisburg, PA 17101
                                (717) 657-4990
                                rwenger@indlawcenter.org

                    Attorneys for Amicus Curiae
                     Case: 23-1769          Document: 29           Filed: 10/25/2023         Page: 2

                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: 23-1769                              Case Name: Christian Healthcare Centers v. Nessel
 Name of counsel: Randall L. Wenger

 Pursuant to 6th Cir. R. 26.1, Association of Classical Christian Schools
                                                            Name of Party
 makes the following disclosure:
 1.     Is said party a subsidiary or affiliate of a publicly owned corporation? If Yes, list below the
        identity of the parent corporation or affiliate and the relationship between it and the named
        party:

  No




 2.     Is there a publicly owned corporation, not a party to the appeal, that has a financial interest
        in the outcome? If yes, list the identity of such corporation and the nature of the financial
        interest:
  No




                                             CERTIFICATE OF SERVICE

                                October 25, 2023
 I certify that on _____________________________________         the foregoing document was served on all
 parties or their counsel of record through the CM/ECF system if they are registered users or, if they are not,
 by placing a true and correct copy in the United States mail, postage prepaid, to their address of record.

                                 s/ Randall L. Wenger




           This statem ent is filed twice: when the appeal is initially opened and later, in the principal briefs,
               im m ediately preceding the table of contents. See 6th Cir. R. 26.1 on page 2 of this form .




6CA-1
8/08                                                                                                                 Page 1 of 2
          Case: 23-1769   Document: 29    Filed: 10/25/2023   Page: 3




      TABLE OF CONTENTS


CORPORATE DISCLOSURE STATEMENT………………………………..i
TABLE OF AUTHORITIES.………………….....………………….…….…..iv
INTEREST OF AMICUS CURIAE……………………………..…….………1
SUMMARY OF THE ARGUMENT.…………………………...……………..2
ARGUMENT..……………………………………..……………….…………….4
I.    Ministerial Employees are the “Lifeblood” of a Religious
      Organization Because They are Critical to the
      Organization’s Ability to Pursue its Mission and
      Disseminate its Message.......…………………….……….…………....4
      A. The Ministerial Exception Safeguards a Trilogy of Core
         First Amendment Rights – Speech, Association, and
         Religion………………………………………………………...……….5

      B. Every Religious Organization is Entitled to Define its
         Mission and Select Representatives to Disseminate its
         Message……………….…………………………………………..…….6

      C. A Religious Organization Speaks a Message Inextricably
         Linked to its Mission. The Organization Must Retain the
         Exclusive Right to Select the Messenger……………………......11

      D. A Religious Organization Conveys its Message Not Only
         Through Speech, But Also the Conduct of its
         Representatives……………………………………………………...13

      E. Every Association – Religious or Not – is Entitled to Select
         Those Who Will Disseminate its Unique Message and
         Fulfill its Mission…………………………………………...……….15
II.   Operating a Religious Organization in Accordance with that
      Organization’s Religious Doctrine is Not Invidious,
      Irrational, or Arbitrary Discrimination……………………..……....17

                                     ii
       Case: 23-1769   Document: 29    Filed: 10/25/2023   Page: 4




   A. This Case is the Foreseeable Product of the United States
      Supreme Court’s Decisions in Obergefell and Bostock.……......19
   B. The Expansion of Anti-Discrimination Principles Has
      Accelerated the Potential for Collision with First
      Amendment Rights……………………………………………….....22

   C. The Ministerial Exception Complements the Broad
      Coreligionist Doctrine, Based on Case Precedent and the
      Title VII Statutory Exemption from Religious
      Discrimination……………………………………….………..……..24
CONCLUSION…………………………………..………………….………….26
CERTIFICATE OF COMPLIANCE……………………..…………….…….28
CERTIFICATE OF SERVICE………………………………………………..29




                                 iii
              Case: 23-1769        Document: 29       Filed: 10/25/2023       Page: 5




                              TABLE OF AUTHORITIES
Cases

Bates v. City of Little Rock, 361 U.S. 516 (1960) ...................................... 6

Bd. of Ed. of Westside Community Schools (Dist. 66) v. Mergens,
 496 U.S. 226 (1990)............................................................................... 11

Bostock v. Clayton County, Ga., 140 S. Ct. 1731 (2020) ............... 3, 20, 21

Boy Scouts of America v. Dale, 530 U.S. 640 (2000) ..................... 7, 10, 22

Braunfeld v. Brown, 366 U.S. 599 (1961) ............................................... 16

Cal. Democratic Party v. Jones, 530 U.S. 567 (2000) ....................... 10, 16

Capitol Square Review & Advisory Bd. v. Pinette,
 515 U.S. 753 (1995)............................................................................... 11

Corporation of the Presiding Bishop v. Amos, 483 U.S. 327 (1987) ....... 25

Gay Rights Coalition of Georgetown Univ. Law Ctr. v. Georgetown
 Univ., 536 A.2d 1 (D.C. 1987) ............................................................... 24

Healy v. James, 408 U.S. 169 (1972)......................................................... 6

Heffron v. International Soc. for Krishna Consciousness, Inc.,
 452 U.S. 640 (1981)............................................................................... 11

Hobbie v. Unemployment Appeals Comm'n of Florida,
 480 U.S. 136 (1987)............................................................................... 18

Hosanna-Tabor Evangelical Lutheran Church & School v. EEOC,
 565 U.S. 171 (2012)....................................................................... passim

Hsu v. Roslyn Union Free Sch. Dist. No. 3,
 85 F.3d 839 (2d Cir. 1996) ...................................................................... 9

                                                 iv
              Case: 23-1769        Document: 29         Filed: 10/25/2023       Page: 6




Hurley v. Irish-American Gay, Lesbian and Bisexual Group of Boston,
 Inc., 515 U.S. 557 (1995) ................................................................ 12, 22

Kedroff v. St. Nicholas Cathedral of Russian Orthodox Church in N.
 Am., 344 U.S. 94 (1951) ........................................................................ 22

Lamb's Chapel v. Center Moriches Union Free School Dist.,
 508 U.S. 384 (1993)............................................................................... 11

Masterpiece Cakeshop, Ltd. v. Colo. Civil Rights Comm’n,
 138 S. Ct. 1719 (2018) .......................................................................... 20

Matal v. Tam, 137 S. Ct. 1744 (2017) ..................................................... 12

McClure v. Salvation Army, 460 F.2d 553 (5th Cir. 1972) ....................... 5

Nat'l Inst. of Family & Life Advocates v. Becerra,
 138 S. Ct. 2361 (2018) .......................................................................... 11

New York State Club Assn., Inc. v. City of New York,
 487 U.S. 1 (1988) .................................................................................. 10

Obergefell v. Hodges, 576 U.S. 644 (2015) ...................................... passim

Our Lady of Guadalupe Sch. v. Morrissey-Berru,
 140 S. Ct. 2049 (2020) ................................................................ 9, 12, 14

Petruska v. Gannon University, 462 F.3d 294 (3d Cir. 2006) ................... 8

Rayburn v. General Conference of Seventh-Day Adventists,
 772 F.2d 1164 (4th Cir. 1985)........................................................... 8, 25

Riley v. Nat'l Fed'n of the Blind of N.C., Inc.,
 487 U.S. 781 (1988)............................................................................... 11

Roberts v. U.S. Jaycees, 468 U.S. 609 (1984) ............................................ 7



                                                   v
              Case: 23-1769        Document: 29         Filed: 10/25/2023       Page: 7




Rumsfeld v. Forum for Academic & Inst. Rights,
 547 U.S. 47 (2006) .................................................................................. 7

Spencer v. World Vision, Inc., 619 F.3d 1109 (9th Cir. 2010) .......... 25, 26

Thomas v. Review Bd. of Ind. Emp't, 450 U.S. 707 (1981) ..................... 18

United States v. United Foods, Inc., 533 U.S. 405 (2001) ...................... 12

Washington v. Glucksberg, 521 U.S. 702 (1997) ....................................... 5

Watson v. Jones, 80 U.S. (13 Wall.) 679 (1872) ...................................... 14

West Virginia State Bd. of Educ. v. Barnette,
 319 U.S. 624 (1943)............................................................................... 21

Widmar v. Vincent, 454 U.S. 263 (1981) ................................................. 11

Wilson v. Cable News Network, Inc., 444 P.3d 706 (Cal. 2019) .............. 15

Wooley v. Maynard, 430 U.S. 705 (1977) ................................................ 12

Statutes

42 U.S.C. § 2000e-1 ................................................................................. 25

Other Authorities

David E. Bernstein, Defending the First Amendment From
 Antidiscrimination, 82 N.C. L. REV. 223 (2003)................................... 23

Harlan Loeb and David Rosenberg, Fundamental Rights in Conflict:
 The Price of a Maturing Democracy,
 77 N.D. L. REV. 27 (2001) ..................................................................... 23

Ira C. Lupu, Free Exercise Exemption and Religious Institutions:
  The Case of Employment Discrimination,
  67 B.U. L. REV. 391 (1987) ................................................................ 4, 16

                                                  vi
             Case: 23-1769      Document: 29       Filed: 10/25/2023     Page: 8




Jack S. Vaitayanonta, Note: In State Legislatures We Trust? The
 “Compelling Interest” Presumption and Religious Free Exercise
 Challenges to State Civil Rights Laws,
 101 COLUM. L. REV. 886 (2001) ............................................................. 23

Michael W. McConnell, "God is Dead and We have Killed Him!"
 Freedom of Religion in the Post-Modern Age,
 1993 BYU L. REV. 163 (1993) ............................................................... 24




                                             vii
          Case: 23-1769   Document: 29   Filed: 10/25/2023   Page: 9




                 INTEREST OF AMICUS CURIAE 1

     Amicus curiae urges the Court to reverse the decision of the district

court.

     Amicus curiae is the Association of Classical Christian Schools

(ACCS). Amicus ACCS represents more than 500 classical Christian

schools, typically K-12, although many have preschools. These schools

practice classical education based on the seven liberal arts in a Christian

setting and from a Christian worldview. Amicus cares deeply about the

ministerial exception because the existence of a strong ministerial

exception helps to safeguard the religious character and mission of

Amicus’s member schools and other religious organizations. Amicus and

its members are increasingly experiencing the conflict between the

prevailing culture and the schools’ teachings on human sexuality,

marriage, and gender. A strong ministerial exception preserves their

ability to hire teaching staff that will teach a full-orbed biblical

understanding of the world. A weak ministerial exception jeopardizes the



1 No counsel for a party authored this brief in whole or in part, and no

party, party’s counsel, or any person other than amicus curiae or their
counsel contributed money intended to fund preparation or submission
of this brief. This brief is accompanied by a Motion for Leave to File.
                                     1
          Case: 23-1769   Document: 29   Filed: 10/25/2023   Page: 10




unique religious contributions of these and other religious institutions,

such as Christian Healthcare Centers, Inc. Amicus’s experience will aid

this Court’s understanding of what is at stake.

                  SUMMARY OF THE ARGUMENT

     Plaintiff-Appellant Christian Healthcare Centers, Inc. (Christian

Healthcare) is a religious, nonprofit healthcare and wellness ministry

that serves all people regardless of race, religion, sex, sexual orientation

or gender identity. Christian Healthcare was founded to provide a

distinctly Christian alternative to traditional primary care by striving to

meet its patients’ medical, emotional and spiritual needs. Its mission is

defined by religious beliefs that are deeply rooted and intertwined with

all aspects of Christian Healthcare’s ministry. The ministry hires and

trains its employees to carry out the various roles necessary for Christian

Healthcare to fulfill its religious mission. Spiritual disciplines such as

scripture reading and prayer are considered vital components of a

person’s health and wellness. Therefore, Christian Healthcare can only

fulfill its mission if it is able to select employees who believe and adhere

to Christian Healthcare’s beliefs and values.




                                     2
          Case: 23-1769    Document: 29    Filed: 10/25/2023   Page: 11




      Michigan’s employment anti-discrimination laws are in direct

conflict with Christian Healthcare’s rights as a religious entity. By

depriving Christian Healthcare of its ability to select and maintain

employees who share the ministry’s religious beliefs, these laws are fatal

to the ministry’s ability to fulfill its mission.

      This case follows a growing trend of challenges to religious practices

using anti-discrimination laws aimed at sexual orientation and gender

identity. That trend is unremarkable considering the United States

Supreme Court’s opinions in Obergefell v. Hodges, 576 U.S. 644 (2015),

and Bostock v. Clayton County, Ga., 140 S. Ct. 1731 (2020).

      Religious faith is not an isolated compartment of life, but a broad

worldview that intersects every square inch in the lives of adherents and

the organizations they operate. The promise of liberty requires broad

religious protections, including the ministerial exception, in order to

protect religious believers and their institutions. All Americans benefit

when we enable the ordering of our lives around those principles most

important to us without fear of backlash.

      Unless the Court steps in to provide meaningful First Amendment

protection, Michigan will continue to prevent faith-based organizations


                                       3
         Case: 23-1769   Document: 29   Filed: 10/25/2023   Page: 12




from hiring those who share their religious beliefs—even religious beliefs

about marriage and sexuality—beliefs that the Supreme Court has

declared “decent and honorable.” Obergefell, 576 U.S. at 672. The end

result of laws like those in Michigan is clear—religious organizations will

be forced to choose between their religious mission and continuing to

operate—but we are all worse off when we shut down religious

organizations with their unique contributions and service to our

communities.

                              ARGUMENT

I.   Ministerial Employees are the “Lifeblood” of a Religious
     Organization Because They are Critical to the
     Organization’s Ability to Pursue its Mission and
     Disseminate its Message.

     The ministerial exception enables a religious organization to

preserve its core identity and perpetuate its existence by freely choosing

those who will speak for it and carry out its mission. Associational

autonomy is critical to this task. Ira C. Lupu, Free Exercise Exemption

and Religious Institutions: The Case of Employment Discrimination, 67

B.U. L. REV. 391, 436 (1987). As the Fifth Circuit explained, ministerial

employees are the “lifeblood” of a religious organization, the “chief

instrument by which the [organization] seeks to fulfill its purpose.”

                                    4
          Case: 23-1769   Document: 29   Filed: 10/25/2023   Page: 13




McClure v. Salvation Army, 460 F.2d 553, 558-59 (5th Cir. 1972). An

employee’s function and primary duties reveal whether that person is

part of the “lifeblood” that flows through an institution’s veins as it

pursues its mission and disseminates its message. Just as teachers are

the quintessential “lifeblood” of a religious school, the employees of

Christian Healthcare are the essential, foundational components of its

ministry. If Christian Healthcare’s ability to live out its faith through

every role and in every aspect of its medical and wellness services is

barred, the ministry cannot carry out its religious mission.

  A.     The Ministerial Exception Safeguards a Trilogy of Core
         First Amendment Rights—Speech, Association, and
         Religion.

       Speech, association, and religion are all “deeply rooted in this

Nation's history and tradition” and “implicit in the concept of ordered

liberty,” so that “neither liberty nor justice would exist if they were

sacrificed.” Washington v. Glucksberg, 521 U.S. 702, 721 (1997). These

intertwined rights would be fundamental even if not explicitly stated in

the First Amendment.

       Without the robust protection long recognized by the United States

Supreme Court, Christian Healthcare would have to forfeit all three


                                     5
           Case: 23-1769    Document: 29   Filed: 10/25/2023   Page: 14




rights. These basic liberties “are protected not only against heavy-handed

frontal attack, but also from being stifled by more subtle governmental

interference.” Healy v. James, 408 U.S. 169, 183 (1972), quoting Bates v.

City of Little Rock, 361 U.S. 516, 523 (1960) (emphasis added). Here,

Michigan wields anti-discrimination laws as a sword to those religious

beliefs that are at odds with its stance on the sensitive topics of gender

identity and sexuality. Such topics, from time out of mind, have been

understood and encompassed within the context of most religious creeds

and doctrines. Yet Michigan, through its public-accommodations and

employment laws, now denies ministries their ability to exist and

function according to their beliefs. By preventing Christian Healthcare

from forming a cohesive association with persons who will faithfully

transmit its message, Michigan’s laws deprive Christian Healthcare of

its First Amendment liberties and longstanding protection for religious

hiring.

  B.      Every Religious Association is Entitled to Define its
          Mission and Select Representatives to Disseminate its
          Message.

       The themes of mission and message emerge before and after

Hosanna-Tabor      in      the   Supreme   Court’s     expressive    association


                                       6
         Case: 23-1769   Document: 29   Filed: 10/25/2023   Page: 15




jurisprudence. “The right to freedom of association is a right enjoyed by

religious and secular groups alike.” Hosanna-Tabor Evangelical

Lutheran Church & School v. EEOC, 565 U.S. 171, 189 (2012). Any

expressive association may create a voice that will faithfully

communicate its message and carry out its mission. Whether religious or

secular, “[f]orcing a group to accept certain members may impair [its

ability] to express those views, and only those views, that it intends to

express.” Boy Scouts of America v. Dale, 530 U.S. 640, 648 (2000).

     An association of individuals can only speak through its authorized

representatives. An expressive association is “the creation of a voice, and

the selection of members is the definition of that voice.” Roberts v. U.S.

Jaycees, 468 U.S. 609, 643 (1984) (O'Connor, J., concurring). Speech is

amplified when many voices combine. Government restrictions on

expressive association can have a chilling effect on protected speech.

Rumsfeld v. Forum for Academic & Inst. Rights, 547 U.S. 47, 68 (2006);

Jaycees, 468 U.S. at 622. Employees speak for an organization through

both conduct and spoken words. If employees are not aligned with the

association’s message, their words and actions are likely to distort that

message and eventually alter the organization’s character.


                                    7
          Case: 23-1769   Document: 29   Filed: 10/25/2023   Page: 16




      Religious organizations are “the archetype of associations formed

for expressive purposes, and their fundamental rights surely include the

freedom to choose who is qualified to serve as a voice for their faith.”

Hosanna-Tabor, 565 U.S. at 200-201 (Alito, J., concurring). Religious

organizations are “dedicated to the collective expression and propagation

of shared religious ideals.” Id. at 200. The free exercise of religion

requires that an organization “must retain the corollary right to select its

voice.” Petruska v. Gannon University, 462 F.3d 294, 306 (3d Cir. 2006).

The continued existence and identity of a religious association hinges on

the persons “select[ed] to preach its values, teach its message, and

interpret its doctrines both to its own membership and to the world at

large.” Rayburn v. General Conference of Seventh-Day Adventists, 772

F.2d 1164, 1168 (4th Cir. 1985). This is true for churches, schools, and

other religious associations—including the religious corporation at issue

in this case.

      Amicus ACCS views the mission of Christian Healthcare similarly

to its own, although in a different context. As faith-based entities, both

amicus and Christian Healthcare exist and serve their communities

according to their religious beliefs. Religious schools exist for the


                                     8
           Case: 23-1769   Document: 29   Filed: 10/25/2023   Page: 17




“religious education and formation of students,” and accordingly, “the

selection and supervision of the teachers upon whom the schools rely to

do this work lie at the core of their mission.” Our Lady of Guadalupe Sch.

v. Morrissey-Berru, 140 S. Ct. 2049, 2055 (2020) (“OLG”). This selection

process is a critical component of a religious organization’s “autonomy

with respect to internal management.” Id. at 2060. A school’s ability to

select its teachers is imperative to preserving its identity. Teachers shape

the content and quality of the school's speech. If they are not committed

to the school’s religious values, the group’s voice will be garbled. Hsu v.

Roslyn Union Free Sch. Dist. No. 3, 85 F.3d 839, 857 (2d Cir. 1996).

     In the same way, Christian Healthcare exists to provide its

healthcare services within the framework of a clearly defined philosophy

of wellness and healthcare that is distinctly “Christ-centered.” That focus

is unambiguously set forth in the organization’s religious statements and

is woven throughout its job descriptions and other documents. Christian

Healthcare’s ability to select those individuals who will carry out its day-

to-day delivery of these services, by incorporating Christ-centered

disciplines such as prayer and the reading of scripture, is critical to its

mission.


                                      9
          Case: 23-1769   Document: 29     Filed: 10/25/2023   Page: 18




      The freedom to associate presupposes the freedom to not associate.

Cal. Democratic Party v. Jones, 530 U.S. 567, 574 (2000). An

organization’s ability to speak is severely curtailed if it is denied the right

to identify the persons who speak for it. This limited right to

“discriminate” enables an expressive association to create its distinctive

voice, and that encompasses the corollary right to determine who does

not represent and speak for it.

      Christian Healthcare, like any organization committed to the

transmission of a system of values, is engaged in constitutionally

protected expression. Dale, 530 U.S. at 650. That expression is

threatened if the ministry is compelled to accept a staff member whose

presence may imperil its ability to promote a particular viewpoint. Id. at

648; New York State Club Assn., Inc. v. City of New York, 487 U.S. 1, 13

(1988). The presence of a staff member who does not adhere to Christian

Healthcare’s religious beliefs would encroach on the ministry’s ability to

represent and advocate its religious values. Without the freedom to hire

individuals whose beliefs align with its mission, Christian Healthcare

would have no comparable alternative channels to deliver its services

according to its faith-based philosophy of wellness and healthcare.


                                      10
           Case: 23-1769   Document: 29    Filed: 10/25/2023   Page: 19




  C.     A Religious Organization Speaks a Message Inextricably
         Linked to its Mission. The Organization Must Retain the
         Exclusive Right to Select the Messenger.

       Communication is critical to any association’s ability to fulfill its

mission. Religious speech,

            far from being a First Amendment orphan, is as fully
            protected under the Free Speech Clause as secular
            private expression. . . . [G]overnment suppression of
            speech has so commonly been directed precisely at
            religious speech that a free-speech clause without
            religion would be Hamlet without the prince.

Capitol Square Review & Advisory Bd. v. Pinette, 515 U.S. 753, 760

(1995). See also Lamb's Chapel v. Center Moriches Union Free School

Dist., 508 U.S. 384 (1993); Bd. of Ed. of Westside Community Schools

(Dist. 66) v. Mergens, 496 U.S. 226 (1990); Widmar v. Vincent, 454 U.S.

263 (1981); Heffron v. International Soc. for Krishna Consciousness, Inc.,

452 U.S. 640 (1981). Regardless of motives, the state “may not substitute

its judgment as to how best to speak” for that of an organization. Riley v.

Nat'l Fed'n of the Blind of N.C., Inc., 487 U.S. 781, 791 (1988); Nat'l Inst.

of Family & Life Advocates v. Becerra, 138 S. Ct. 2361, 2376 (2018) (crisis

pregnancy centers protected against compelled speech regarding state-

financed abortions). Compelling an organization to retain an unwanted

ministerial employee (or pay a hefty fine) is tantamount to compelled

                                      11
          Case: 23-1769   Document: 29    Filed: 10/25/2023   Page: 20




speech. See, e.g., Wooley v. Maynard, 430 U.S. 705, 717 (1977); Hurley v.

Irish-American Gay, Lesbian and Bisexual Group of Boston, Inc., 515

U.S. 557, 573 (1995). Even a secular business may create a unique brand

to convey a message to the public—and do so free of government

compulsion. See, e.g., Matal v. Tam, 137 S. Ct. 1744, 1760 (2017)

(trademark); United States v. United Foods, Inc., 533 U.S. 405, 410 (2001)

(mushroom producer).

     The free speech principles at stake here were evident in Hosanna-

Tabor. The plaintiff teacher had a role in “conveying the Church’s

message and carrying out its mission.” 565 U.S. at 192; id. at 204 (Alito,

J., concurring). In OLG, similarly, the teachers were “entrusted most

directly with the responsibility of educating their students in the faith.”

140 S. Ct. at 1066. The ministerial exception “should be tailored to this

purpose” and applied to any employee who “serves as a messenger or

teacher of its faith.” Hosanna-Tabor, 565 U.S. at 199 (Alito, J.,

concurring). Considering the critical role of those who speak for a

religious association, “[t]he Constitution leaves it to the collective

conscience of each religious group to determine for itself who is qualified

to serve as a teacher or messenger of its faith.” Id. at 202.


                                     12
          Case: 23-1769   Document: 29    Filed: 10/25/2023   Page: 21




       For Christian Healthcare, each staff member has a role in the

messaging and delivery of services that reflect and integrate Christian

Healthcare’s faith-based philosophy of wellness and healthcare. This

focus is emphasized and defined in Christian Healthcare’s Statement of

Faith and Statement of Values, both of which must be signed by all its

staff members. Specifically, in its Statement of Values, Christian

Healthcare states under its “Christ-centered” value that “all personnel

offer their work up to God as an act of worship, and will treat his or her

medical skills as ministering gifts provided by the Great Physician. . . .”

Clearly, an individual whose beliefs do not align with this statement or

other, similar statements defining Christian Healthcare’s core values,

cannot effectively communicate these values.

  D.     A Religious Association Conveys its Message Not Only
         Through Speech, But Also the Conduct of its
         Representatives.

       Religion is a comprehensive worldview, not a compartment

detached from daily life. Just as religious school representatives would

both speak about religion and model its values in their interactions with

students, faculty, and others, Christian Healthcare must consider the

patients it serves and respond to their expectations and needs. In


                                     13
          Case: 23-1769   Document: 29    Filed: 10/25/2023   Page: 22




essence, the employees of Christian Healthcare are its ambassadors.

That responsibility includes modeling a lifestyle and conduct that is

consistent with the ministry’s message. In OLG, as in Hosanna-Tabor,

the United States Supreme Court recognized that “educating young

people in their faith, inculcating its teachings, and training them to live

their faith . . . lie at the very core of the mission of a private religious

school.” 140 S. Ct. at 2064 (emphasis added). Indeed, this is “what an

employee does.” Id. Recognizing that its employees’ conduct directly

impacts the effectiveness of its message, Christian Healthcare maintains

a “Code of Conduct” that each staff member is required to sign. By signing

the Code of Conduct, the employee affirms, and agrees to act in

accordance with, the religious beliefs and values of Christian Healthcare.

     A religious organization may require conformity to its moral

standards as a condition of membership. Watson v. Jones, 80 U.S. (13

Wall.) 679 (1872). Criteria for those who will serve as representatives of

the organization and its message is even more critical and may not be

dictated by government.

           When it comes to the expression and inculcation of
           religious doctrine, there can be no doubt that the
           messenger matters. . . . [B]oth the content and
           credibility of a religion's message depend vitally on the

                                     14
          Case: 23-1769   Document: 29     Filed: 10/25/2023   Page: 23




            character and conduct of its teachers. A religion cannot
            depend on someone to be an effective advocate for its
            religious vision if that person’s conduct fails to live up to
            the religious precepts that he or she espouses.

Hosanna-Tabor, 565 U.S. at 201 (Alito, J., concurring).

  E.     Every Association—Religious or Not—is Entitled to Select
         Those Who Will Disseminate its Unique Message and
         Fulfill its Mission.

       A broad view of the Supreme Court’s expressive association

jurisprudence is critical to this case. “The right to freedom of association

is a right enjoyed by religious and secular groups alike.” Hosanna-Tabor,

565 U.S. at 189. Every expressive association is entitled to craft a voice

that will faithfully communicate its message and carry out its mission.

       “[A]n entity can act and speak only through the individuals that

comprise and represent it.” Wilson v. Cable News Network, Inc., 444 P.3d

706, 720 (Cal. 2019). Speech is often most effective when many voices are

combined. Employees speak for an organization through their conduct

and spoken words. If they are not committed to the association's

purposes, they are likely to misrepresent the group. Over time, the

association’s fundamental identity may be distorted beyond recognition.

       Michigan’s employment nondiscrimination laws not only impact

Christian Healthcare and other religious organizations, they also stifle

                                      15
         Case: 23-1769   Document: 29    Filed: 10/25/2023   Page: 24




the freedom of non-religious groups to associate and disseminate a clear

message through their chosen representatives. There is no substitute for

a group’s right to select its members and leaders. Cal. Democratic Party,

530 U.S. at 581. Regulating the identity of a political party’s leaders

interferes with the content and promotion of its message. Id. at 579.

Similarly, associational autonomy is critical to a religious organization’s

preserving its identity. Lupu, Free Exercise Exemption, 67 B.U. L. REV.

391. A religious institution may not be forced to say “anything in conflict

with [its] religious tenets.” Braunfeld v. Brown, 366 U.S. 599, 603 (1961).

Government regulation has the potential to “alter both content and the

mode of expression of its shared commitments over time.” Lupu, Free

Exercise Exemption, 67 B.U. L. REV. at 434.

     The freedom to associate presupposes the freedom to not associate.

Cal. Democratic Party, 530 U.S. at 574. Without the ability to select those

messengers who will represent it and speak on its behalf, an organization

loses control of its message. Equally important is the ability of an

organization to decline to select or retain those individuals it determines

should not entrusted to speak on behalf of the organization. It is this

limited right to “discriminate” in its expressive association that enables


                                    16
         Case: 23-1769   Document: 29    Filed: 10/25/2023   Page: 25




an organization to ensure that its unique message remains consistent

with its mission. This case exemplifies that right. Christian Healthcare

must retain the right to decline to hire or retain an individual who

disagrees with its religious message. That is the only way it can preserve

and carry out its unique mission.

II.   Operating a Religious Organization in Accordance with that
      Organization’s Religious Doctrine is Not Invidious,
      Irrational, or Arbitrary Discrimination.

      Michigan’s use of its employment nondiscrimination laws to punish

religious entities for hiring those who share their religious beliefs is a

complete denial of these organizations’ right to operate in accordance

with their religious doctrine. Moreover, these laws force ministries such

as Christian Healthcare to speak views, restrict their speech and take

actions that directly violate their faith. By placing a statutory right on

equal footing with a constitutional right, Michigan now wields its

authority against religious organizations that act consistently with

beliefs about important issues on which members of a free society may

reasonably disagree.

      The action of a religious organization, motivated by its religious

doctrine, is not arbitrary, irrational, unreasonable, or invidious. Indeed,


                                    17
          Case: 23-1769   Document: 29    Filed: 10/25/2023   Page: 26




a religious organization’s selection of employees who support its religious

mission is not “discrimination” at all. See Obergefell, 576 U.S. at 679-80

(“The First Amendment ensures that religious organizations . . . are given

proper protection as they seek to teach the principles that are so fulfilling

and so central to their lives and faiths, and to their own deep aspirations

to continue the family structure they have long revered.”). This is not a

case where the law may proscribe refusal to conduct business with an

entire group based on personal animosity or irrelevant criteria. It is

relevant for a religious organization to consider an employee’s agreement

(or disagreement) with its religious doctrine and mission. A court’s

refusal to consider religious motivation and relevance—and distinguish

that from invidious discrimination—“tends to exhibit hostility, not

neutrality, towards religion.” Hobbie v. Unemployment Appeals Comm'n

of Florida, 480 U.S. 136, 142 (1987); see also Thomas v. Review Bd. of

Ind. Emp't, 450 U.S. 707, 708 (1981).

     Religious employers’ pursuit of employees that share their mission

is not invidious but indispensable to maintaining the character of an

organization. A religious employer should be free to hire those who both

believe what the organization believes and who seek to live consistently


                                     18
          Case: 23-1769   Document: 29    Filed: 10/25/2023   Page: 27




with those beliefs. Human sexuality is inseparable from most religious

doctrinal belief systems and expectations as to conduct within those

belief systems. While any employee will have certain sexual desires, most

religious employers expect their employees to agree with their belief

system on these issues and act according to their belief systems. For

instance, most religious organizations will teach that consensual sex with

a non-spouse is immoral even though they know employees may have

sexual desire for people who are not their spouse. The religious

organization knows people have desires to do things they teach are

wrong, but they seek to hire people who both believe what the

organization does about those desires and seek to live consistently with

those beliefs. Recognition of a broad ministerial exception is essential to

religious freedom, freedom of speech, and association. Without it,

religious groups cannot adhere to teachings that are core to their

understanding of their religion.

  A.     This Case is the Foreseeable Product of the United States
         Supreme Court’s Decisions in Obergefell and Bostock.

       There is an alarming surge in the use of anti-discrimination laws

to compel uniformity of thought and action about sexual mores, contrary

to Obergefell’s admonition that religious organizations and persons

                                     19
          Case: 23-1769   Document: 29    Filed: 10/25/2023   Page: 28




should be free to organize their lives around these issues. This is hardly

a shocking development. Indeed, it is the foreseeable result of the Court’s

rulings in Obergefell, 576 U.S. 644, and Bostock, 140 S. Ct. 1731. The

Court put its thumb on the scale on issues of profound cultural and

religious significance but failed to immediately relieve the burdens it had

inadvertently created. Obergefell, 576 U.S. at 711 (Roberts, C.J.,

dissenting) (“Federal courts . . . do not have the flexibility of legislatures

to address concerns of parties not before the court. . . .”). Justice Thomas

warned of “potentially ruinous consequences for religious liberty.” Id. at

734 (Thomas, J., dissenting). Unfortunately, the Court’s promises to

preserve religious liberty, id. at 679-680, ring hollow in this case.

Masterpiece Cakeshop, Ltd. v. Colo. Civil Rights Comm’n, 138 S. Ct. 1719

(2018), provided narrow protection against open government hostility to

religion. But much broader protection is needed to guard the liberty of

religious organizations, which is in imminent jeopardy. Michigan’s

employment anti-discrimination laws are openly hostile toward religious

organizations and ministries such as Christian Healthcare. Without the

benefit of its free-speech and religious-liberty rights, this ministry and




                                     20
          Case: 23-1769   Document: 29    Filed: 10/25/2023   Page: 29




others like it have no means to preserve their religious identity and

pursue their mission while remaining faithful to their core beliefs.

     Misinterpretations of Obergefell and Bostock have resulted in

brazen efforts to coerce uniformity of thought about the nature of

marriage and sexuality, redefining basic biology and concepts that have

stood for millennia. Attempts to compel uniform thought are dangerous

to a free society where the government must respect a wide range of

diverse viewpoints. In the past, “[s]truggles to coerce uniformity . . . have

been waged by many good as well as by evil men.” West Virginia State

Bd. of Educ. v. Barnette, 319 U.S. 624, 640 (1943). These efforts are

ultimately futile. “Compulsory unification of opinion achieves only the

unanimity of the graveyard.” Id. at 641. Religious organizations and

individuals are especially threatened by laws and policies that prohibit

“discrimination” based on sexual orientation and/or gender identity.

Strong convictions about marriage and sexuality often characterize a

system of religious doctrine. Christian Healthcare holds religious beliefs

about marriage and sexuality that are intertwined with the religious

worldview that undergirds its mission, message, and choice of

messengers. The Constitution guarantees Christian Healthcare and


                                     21
           Case: 23-1769   Document: 29    Filed: 10/25/2023   Page: 30




other religious organizations “independence from secular control or

manipulation” in matters of “faith and doctrine.” Kedroff v. St. Nicholas

Cathedral of Russian Orthodox Church in N. Am., 344 U.S. 94, 116

(1951). Michigan’s laws crush that independence, and their assault on

religious freedom will inevitably create additional collateral damage

unless this Court intervenes to restore religious liberty.

  B.     The Expansion of Anti-Discrimination Principles Has
         Accelerated the Potential for Collision with First
         Amendment Rights.

       Anti-discrimination policies have roots in the distant past. “State

public accommodations laws were originally enacted to prevent

discrimination in traditional places of public accommodation—like inns

and trains.” Dale, 530 U.S. at 656. The Massachusetts law at issue in

Hurley grew out of the common law principle that innkeepers and others

in public service could not refuse service to a customer without good

reason. Hurley, 515 U.S. at 571.

       Modern anti-discrimination principles expanded over the years.

The traditional “places” have moved beyond inns and trains to

commercial entities and even membership associations, increasing the

potential collision with First Amendment rights. Dale, 530 U.S. at 656.


                                      22
          Case: 23-1769    Document: 29    Filed: 10/25/2023   Page: 31




Anti-discrimination rights, whether created by statute or derived from

equal protection principles, may conflict with core rights to religious

liberty. Harlan Loeb and David Rosenberg, Fundamental Rights in

Conflict: The Price of a Maturing Democracy, 77 N.D. L. REV. 27, 29

(2001). Commentators have observed the complex legal questions that

arise where statutory protections clash with the free exercise of religion.

Jack S. Vaitayanonta, Note: In State Legislatures We Trust? The

“Compelling    Interest”   Presumption      and     Religious    Free     Exercise

Challenges to State Civil Rights Laws, 101 COLUM. L. REV. 886, 887

(2001); see also David E. Bernstein, Defending the First Amendment

From Antidiscrimination, 82 N.C. L. REV. 223 (2003) (urging resolution

in favor of First Amendment liberties).

     The clash between anti-discrimination principles and the First

Amendment is particularly volatile when a morally controversial practice

is at issue and religious persons or groups are swept within the ambit of

the new law. Government ought not legislate a particular view of sexual

morality and compel religious institutions and individuals to facilitate it.

When the D.C. Circuit addressed the question “of imposing official

orthodoxy on controversial issues of religious, moral, ethical and


                                      23
          Case: 23-1769   Document: 29    Filed: 10/25/2023   Page: 32




philosophical importance, upon an entity whose role is to inquire into

such matters” it concluded that “[t]he First Amendment not only ensures

that questions on difficult social topics will be asked, it also forbids

government from dictating the answers.” Gay Rights Coalition of

Georgetown Univ. Law Ctr. v. Georgetown Univ., 536 A.2d 1, 24 (D.C.

1987) (emphasis added). Religious voices have shaped views of sexual

morality for centuries. These deeply personal convictions shape the way

people of faith live their daily lives, privately and in public. Advocates of

social change with respect to sexuality tend to be “anything but

indifferent toward the teachings of traditional religion—and since they

are not indifferent they are not tolerant.” Michael W. McConnell, “God is

Dead and We have Killed Him!” Freedom of Religion in the Post-Modern

Age, 1993 BYU L. REV. 163, 187 (1993). Political power can be used to

squeeze religious views out of public debate about controversial social

issues, as cases like this one demonstrate.

  C.     The Ministerial Exception Complements the Broad
         Coreligionist Doctrine, Based on Case Precedent and the
         Title VII Statutory Exemption from Religious
         Discrimination.

       There   is   unquestionably       tension   between      “our     cardinal

Constitutional principles of freedom of religion . . . and our national

                                     24
         Case: 23-1769   Document: 29    Filed: 10/25/2023   Page: 33




attempt to eradicate all forms of discrimination.” Rayburn, 772 F.2d at

1167. But a religious organization must be free to exclude non-adherents

from employment positions where they could distort the organization's

message or hinder its mission. Otherwise, an association could be

hijacked by non-adherents who would supplant its identity and message.

     Recognizing the unique constitutional protection for religion, the

Civil Rights Act of 1964 (Title VII) accommodates religious employers by

exempting them from the prohibition against religious discrimination. 42

U.S.C. § 2000e-1. The United States Supreme Court upheld the

exemption against Establishment and Equal Protection Clause

challenges, observing that government should not interfere with “the

ability of religious organizations to define and carry out their religious

missions.” Corporation of the Presiding Bishop v. Amos, 483 U.S. 327,

335-336 (1987) (building engineer discharged by nonprofit gymnasium

associated with church). This broad exemption allows a religious

employer to terminate an employee “for exclusively religious reasons,”

even “without respect to the nature of their duties.” Spencer v. World

Vision, Inc., 619 F.3d 1109, 1111 (9th Cir. 2010) (emphasis added). In

Spencer, the Ninth Circuit upheld World Vision’s termination of three


                                    25
          Case: 23-1769   Document: 29    Filed: 10/25/2023   Page: 34




employees who performed maintenance, office, and shipping services. All

of them initially signed the required “Statement of Faith, Core Values,

and Mission Statement” but later were terminated when they renounced

the religious doctrine that defines World Vision’s mission. Id. at 1112.

      The constitutionally compelled ministerial exception, based on an

employee’s ministerial status, complements the broad protection

grounded in an employer’s religious nature. Both guard free exercise

rights. If otherwise applicable anti-discrimination laws were applied to

religious entities without some adjustment for their religious character

and purposes, there would be an enormous collision with religious liberty,

free speech, and association. Religious entities have broad liberty to

“discriminate” based on religious doctrine. Although other anti-

discrimination provisions may sometimes apply, the ministerial

exception ensures that government does not encroach on a religious

organization’s liberty to select those employees who are most critical to

fulfilling its religious mission.

                              CONCLUSION

      Because of the important First Amendment considerations

underpinning the ministerial exception and coreligionist doctrine,


                                     26
         Case: 23-1769   Document: 29    Filed: 10/25/2023   Page: 35




amicus respectfully requests that this court reverse the District Court

and grant Christian Healthcare’s motion for preliminary injunction.

                Respectfully submitted,

                /s/ Randall L. Wenger
                Randall L. Wenger
                Jeremy L. Samek
                Janice Martino-Gottshall
                Independence Law Center
                23 N. Front St., First Fl
                Harrisburg, PA 17101
                (717) 657-4990
                rwenger@indlawcenter.org

                Deborah J. Dewart
                111 Magnolia Lane
                Hubert, NC 28539
                (910) 326-4554

                Attorneys for Amicus Curiae




                                    27
         Case: 23-1769   Document: 29    Filed: 10/25/2023   Page: 36




                 CERTIFICATE OF COMPLIANCE

     This brief complies with the type-volume limitations of Federal

Rule of Appellate Procedure 29(a)(5). This brief contains 5,112 words,

excluding the parts of the brief exempted by Federal Rule of Appellate

Procedure 32(f). This brief complies with the typeface requirements of

Federal Rule of Appellate Procedure 32(a)(5) and the type style

requirements of Federal Rule of Appellate Procedure 32(a)(6). This brief

has been prepared in a proportionally spaced typeface using Microsoft

Word 2021 in fourteen (14) point Century Schoolbook font.




                                         /s/ Randall L. Wenger
                                         Randall L. Wenger
                                         Independence Law Center
                                         23 N. Front St., First Fl
                                         Harrisburg, PA 17101
                                         (717) 657-4990
                                         rwenger@indlawcenter.org

                                         Attorney for Amicus Curiae




                                    28
         Case: 23-1769   Document: 29    Filed: 10/25/2023   Page: 37




                    CERTIFICATE OF SERVICE

     I hereby certify that on this 25th day of October, 2023, I

electronically filed the foregoing with the Clerk of the Court using the

CM/ECF System, which will send notice of such filing to all registered

CM/ECF users.


                                         /s/ Randall L. Wenger
                                         Randall L. Wenger
                                         Independence Law Center
                                         23 N. Front St., First Fl
                                         Harrisburg, PA 17101
                                         (717) 657-4990
                                         rwenger@indlawcenter.org


                                         Attorney for Amicus Curiae




                                    29
